    Case
  Case   5:20-mj-00036-JCH Document
       3:20-cr-00013-GMG-RWT        1-1 1Filed
                              Document         08/07/20
                                           Filed 03/17/20Page
                                                          Page1 of 7 7Pageid#:
                                                                1 of           3 1
                                                                       PageID #:



                 UNITED STATES DISTRICT COURT FOR THE~                           FILED
                  NORTHERN DISTRICT OF WEST VIRGINIA                            MAR 172020

                                                                          U~. DISTRICT COURT-WVND
                                                                           MARTINSBURG, Wv 25401
  UNITED STATES OF AMERICA,
                                                                  3’~,OC1L~3
  V.                                            Criminal No.     _____________________

  TERRY JIMENEZ MORALES,                                         18   U.S.C.   §2
  JEAN CARLOS RIVERA APONTE,                    Violations:      18   U.S.C.   § 1952(a)(3)
  LUIS MANUEL SOLERO ORTIZ,                                      21   U.S.C.   § 841(a)(1)
  DAMANYA TERELLE CARTER,                                        21   U.S.C.   § 841(b)(1)(B)
                                                                 21   U.S.C.   § 841(b)(1)(C)
          Defendants.                                            21   U.S.C.   § 846
                                                                 21   U.S.C.   § 853




                                      INDICTMENT

       The Grand Jury charges that:

                                      COUNT ONE

 (Conspiracy to Possess with Intent to Distribute and to Distribute 500 Grams or
                        More of Cocaine Hydrochloride)

       From on or about February 21, 2019 to on or about March 29, 2019, in Jefferson

County, in the Northern District of West Virginia, and elsewhere, defendants TERRY

JIMENEZ MORALES, JEAN CARLOS RIVERA APONTE, and LUIS MANUEL

SOLERO ORTIZ, did knowingly and intentionally combine, conspire, confederate,

agree and have a tacit understanding together with each other, and with persons known

and unknown to the Grand Jury to violate Title 21, United States Code, Section 841(a)(1).
   Case
 Case   5:20-mj-00036-JCH Document
      3:20-cr-00013-GMG-RWT        1-1 1Filed
                             Document         08/07/20
                                          Filed 03/17/20Page
                                                         Page2 of 7 7Pageid#:
                                                               2 of           4 2
                                                                      PageID #:



It was a purpose and object of the conspiracy to possess with intent to distribute, and to

distribute five hundred grams or more of a mixture and substance containing a detectable

amount of cocaine hydrochloride, a Schedule II controlled substance; in violation of Title

21, United States Code, Sections 846, 841(ä)(1), and 841(b)(1)(B).
    Case
  Case   5:20-mj-00036-JCH Document
       3:20-cr-00013-GMG-RWT        1-1 1Filed
                              Document         08/07/20
                                           Filed 03/17/20Page
                                                          Page3 of 7 7Pageid#:
                                                                3 of           5 3
                                                                       PageID #:



                                     COUNT TWO

          (Conspiracy to Possess with Intent to Distribute and to Distribute
                              Cocaine Hydrochloride)

      From on or about February 21, 2019 to on or about March 29, 2019, in Jefferson

County, in the Northern District of West Virginia, and elsewhere, defendant DAMANYA

TERELLE CARTER, did knowingly and intentionally combine, conspire, confederate,

agree and have a tacit understanding with persons known and unknown to the Grand Jury

to violate Title 21, United States Code, Section 841(a)(1). It was a purpose and object of

the conspiracy to possess with intent to distribute, and to distribute a mixture and

substance containing a detectable amount of cocaine hydrochloride, a Schedule II

controlledsubstance; in violation of Title 21, United States Code, Sections 846, 841(a)(1),

and 841(b)(1)(C).
    Case
  Case   5:20-mj-00036-JCH Document
       3:20-cr-00013-GMG-RWT        1-1 1Filed
                              Document         08/07/20
                                           Filed 03/17/20Page
                                                          Page4 of 7 7Pageid#:
                                                                4 of           6 4
                                                                       PageID #:



                                    COUNT THREE

                       (Aiding and Abetting Travel Act     —   Promotion)

      On or about March 27, 2019, defendants TERRY JIMENEZ MORALES and

JEAN CARLOS RIVERA APONTE, aiding and abetting each other, traveled in

interstate commerce between the States of Virginia and West Virginia, and elsewhere,

with intent to facilitate the carrying on of an unlawful activity, namely a business

enterprise involving the Controlled Substances Act offense charged in Count One of this

Indictment.

      Thereafter, on or about March 27, 2019, in Jefferson County, in the Northern

District of West Virginia and elsewhere, defendants TERRY JIMENEZ MORALES

and JEAN CARLOS RIVERA APONTE, aiding and abetting each other, did facilitate

the carrying on of an unlawful activity, that is, the defendants traveled from Virginia to

West Virginia to obtain controlled substances to distribute in Virginia; in violation of

Title 18, United States Code, Section 2 and United States Code, Section 1952(a)(3).
   Case
 Case   5:20-mj-00036-JCH Document
      3:20-cr-00013-GMG-RWT        1-1 1Filed
                             Document         08/07/20
                                          Filed 03/17/20Page
                                                         Page5 of 7 7Pageid#:
                                                               5 of           7 5
                                                                      PageID #:



                                    COUNT FOUR

(Aiding and Abetting Possession with Intent to Distribute Cocaine Hydrochloride)

      On or about March 27, 2019, in Jefferson County, in the Northern District of West

Virginia, defendants TERRY JIMENEZ MORALES, JEAN CARLOS RIVERA

APONTE, and LUIS MANUEL SOLERO ORTIZ, aiding and abetting each other, did

unlawfully, knowingly, intentionally, and without authority possess with intent to

distribute a mixture and substance containing a detectable amount of cocaine

hydrochloride, a Schedule II controlled substance; in violation of Title 18, United States

Code, Section 2 and Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).
   Case
 Case   5:20-mj-00036-JCH Document
      3:20-cr-00013-GMG-RWT        1-1 1Filed
                             Document         08/07/20
                                          Filed 03/17/20Page
                                                         Page6 of 7 7Pageid#:
                                                               6 of           8 6
                                                                      PageID #:



                                     COUNT FIVE

 (Possess with Intent to Distribute 500 Grams or More of Cocaine Hydrochloride)
      On or about March 29, 2019, in Jefferson County, in the Northern District of West

Virginia, defendant LUIS MANUEL SOLERO ORTIZ, did unlawfully, knowingly,

intentionally, and without authority possess with intent to distribute a mixture and

substance containing a detectable amount of five hundred grams or more of cocaine

hydrochloride, a Schedule II controlled substance; in violation of Title 21, United States

Code, Sections 841(a)(1) and 841(b)(1)(B).
    Case
  Case   5:20-mj-00036-JCH Document
       3:20-cr-00013-GMG-RWT        1-1 1Filed
                              Document         08/07/20
                                           Filed 03/17/20Page
                                                          Page7 of 7 7Pageid#:
                                                                7 of           9 7
                                                                       PageID #:



                                 FORFEITURE ALLEGATION

                                      Controlled Substance Act

        Pursuant to Title 21, United States Code, Section 853 and Title 21, United States

Code, Section 841 (a)( 1) and (b)( 1 )(C), the government will seek the forfeiture of property

as part of the sentence imposed in this case; that is, the forfeiture of any property used, or

intended to be used, to commit or to facilitate the commission of the above referenced

offense, and any property constituting, or derived from, proceeds obtained directly or

indirectly, as a result of such offense.



                                                  A true bill,

                                                  /5/
                                                  Grand Jury Foreperson
/s/_____________________________________
WILLIAM J. POWELL
United States Attorney

Lara K. Omps-Botteicher
Assistant United States Attorney
